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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
700 E Birch St, Brea, CA 92822.


A true and correct copy of the foregoing document entitled (specify): RESPONSE OF CLAIMANT ISRAEL OROZCO TO
TRUSTEE RICHARD A. MARSHACK’S OBJECTION [DKT. NO 1707] TO CLAIMANT’S PREPETITION PROOF OF CLAIM
[CLAIM NO. 104]; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ISRAEL OROZCO;
DECLARATION OF CLAIMANT ISRAEL OROZCO IN SUPPORT OF CLAIMANT’S RESPONSE TO TRUSTEE RICHARD
A. MARSHACK’S OBJECTION TO CLAIMANT’S PROOF OF CLAIM will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/10/2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                       x    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/10/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

The Litigation Practice Group P.C.
17542 17th St
Suite 100
Tustin, CA 92780

                                                                                       x    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/10/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Scott Clarkson
United States Bankruptcy Court
411 West Fourth Street, Suite 5130
Santa Ana, CA 92701-4593



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  10/10/2024                       Israel Orozco
  Date                            Printed Name                                                   Signature




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